          Case 2:18-cv-01083-RAJ Document 13-1 Filed 11/27/18 Page 1 of 2



                                                                                Hon. Richard A. Jones
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 7                          UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8                                                       )
     OCEANGATE INC.,
                                                         )   NO. 2:18-CV-01083-RAJ
 9                                                       )
                            Plaintiff,                   )
10   v.                                                  )   ORDER OF DISMISSAL
                                                         )
11                                                       )
     DAVID LOCHRIDGE and CAROLE REID
                                                         )
12   LOCHRIDGE, and the marital community                )
     composed thereof,                                   )
13                                                       )
                            Defendants.                  )
14                                                       )

15                                               ORDER
16
            The parties have notified the Court they have reached a settlement of this case. The
17
     Court accordingly DISMISSES this case with prejudice and without court-ordered costs or
18
     attorney fees to any party. If the parties are unable to perfect their settlement, they may move
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     to reopen this case within 60 days of this order.
20
            DATED this ______ day of ____________________, 2018.
21

22
                                                   ___________________________________
23                                                 THE HONORABLE RICHARD A. JONES
                                                   UNITED STATES DISTRICT JUDGE
24

25

      ORDER OF DISMISSAL                                                      BARRETT & GILMAN
      NO. 2:18-CV-01083-RAJ – PAGE 1                                                   Attorneys at Law
                                                                                1000 Second Avenue, Suite 3000
                                                                                      Seattle, WA 98104
                                                                                        (206) 464-1900
          Case 2:18-cv-01083-RAJ Document 13-1 Filed 11/27/18 Page 2 of 2




 1
     Presented by:
 2

 3
     BARRETT & GILMAN
 4
     By __s/_____
 5     Thomas L. Gilman, WSBA #8432
       1000 Second Ave., Suite 3000
 6     Seattle WA 98104
       (206)464-1900
 7     tgilman@bgseattle.com
       Counsel for OceanGate, Inc.
 8

 9
     CORR CRONIN
10
     By __s/_____
11     Blake Marks-Dias, WSBA #28169
       1001 Fourth Ave., Suite 3900
12     Seattle WA 98154
       (206) 625-8600
13     bmarksdias@corrcronin.com
       Counsel for Lochridge Defendants
14

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      ORDER OF DISMISSAL                                      BARRETT & GILMAN
      NO. 2:18-CV-01083-RAJ – PAGE 2                                  Attorneys at Law
                                                               1000 Second Avenue, Suite 3000
                                                                     Seattle, WA 98104
                                                                       (206) 464-1900
